            Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 1 of 13




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CYNTHIA OYLER,                             )
                                           )
       Plaintiff,                          )
                                           )       CIVIL ACTION
vs.                                        )
                                           )       FILE No. 5:21-cv-288
BW GALLERIA, LLC d/b/a                     )
GALLERIA OAKS,                             )
                                           )
       Defendant.                          )

                                       COMPLAINT

       COMES NOW, CYNTHIA OYLER, by and through the undersigned counsel, and

files this, her Complaint against BW GALLERIA, LLC d/b/a GALLERIA OAKS,

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and

the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof,

Plaintiff respectfully shows the Court as follows:

                                     JURISDICTION

       1.       The Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendant’s failure to remove physical barriers to access and violations of Title III of the

ADA.

                                         PARTIES

       2.       Plaintiff CYNTHIA OYLER (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in San Antonio, Texas


                                               1
            Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 2 of 13




(Bexar County).

       3.       Plaintiff is disabled as defined by the ADA.

       4.       Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

       5.       Plaintiff uses a wheelchair for mobility purposes.

       6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting her civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. Her motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon the Court so an injunction can be issued correcting the numerous ADA

violations on the Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

       7.       Defendant BW GALLERIA, LLC d/b/a GALLERIA OAKS (hereinafter

“GALLERIA OAKS”) is a private for profit Company that transacts business in the state

of Texas and within the judicial district.

       8.       GALLERIA OAKS may be properly served with process through its

registered agent, to wit: Stacy Ellis, 10735 Mesquite Flat, Helotes, Texas 78023.

                                FACTUAL ALLEGATIONS

       9.       On or about December 11, 2020, Plaintiff was a customer at “Purple

                                               2
         Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 3 of 13




Garlic” a business located at 15909 San Pedro Avenue, San Antonio, Texas 78232,

referenced herein as the “Purple Garlic.”

       10.    STONE RIDGE SQUARE is the owner or co-owner of the real property

and improvements that the Purple Garlic is situated upon and that is the subject of the

action, referenced herein as the “Property.”

       11.    Plaintiff lives approximately 5 miles from the Purple Garlic and Property.

       12.    Plaintiff’s access to the business(es) located at 12335 Wetmore Road, San

Antonio, Bexar County Property Identification numbers 647268 (“the Property”), and/or

full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of

her disabilities, and she will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Purple Garlic and Property, including those set forth in her

Complaint.

       13.    Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in her Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property is made accessible and to maintain standing for her

lawsuit for Advocacy Purposes.

       14.    Plaintiff intends to revisit the Purple Garlic and Property to purchase goods

and/or services.

                                               3
         Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 4 of 13




       15.     Plaintiff travelled to the Purple Garlic and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Purple

Garlic and Property that are detailed in her Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a result of

the illegal barriers to access present at the Purple Garlic and Property.


                                  COUNT I
                      VIOLATIONS OF THE ADA AND ADAAG

       16.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and the number is increasing as the population as a
               whole is growing older;

       (ii)    historically, society has tended to isolate and segregate individuals
               with disabilities, and, despite some improvements, such forms of
               discrimination against individuals with disabilities continue to be a
               serious and pervasive social problem;

       (iii)   discrimination against individuals with disabilities persists in such
               critical areas as employment, housing public accommodations,
               education,        transportation,    communication,        recreation,
               institutionalization, health services, voting, and access to public
               services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, overprotective rules and policies, failure to
               make modifications to existing facilities and practices, exclusionary
               qualification standards and criteria, segregation, and relegation to
               lesser service, programs, activities, benefits, jobs, or other
               opportunities; and

                                              4
         Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 5 of 13




       (v)    the continuing existence of unfair and unnecessary discrimination
              and prejudice denies people with disabilities the opportunity to
              compete on an equal basis and to pursue those opportunities for
              which our free society is justifiably famous, and costs the United
              States billions of dollars in unnecessary expenses resulting from
              dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.    Congress explicitly stated that the purpose of the ADA was to:

       (i)    provide a clear and comprehensive national mandate for the
              elimination of discrimination against individuals with disabilities;

       (ii)   provide a clear, strong, consistent, enforceable standards addressing
              discrimination against individuals with disabilities; and

              *****

       (iv)   invoke the sweep of congressional authority, including the power to
              enforce the fourteenth amendment and to regulate commerce, in
              order to address the major areas of discrimination faced day-to-day
              by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.    The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.    The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.    The Purple Garlic is a public accommodation and service establishment.

       22.    The Property is a public accommodation and service establishment.

       23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the


                                              5
        Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 6 of 13




Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Purple Garlic must be, but is not, in compliance with the ADA and

ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Purple Garlic and the Property in her capacity as a customer of the Purple Garlic and

Property and as an independent advocate for the disabled, but could not fully do so

because of her disabilities resulting from the physical barriers to access, dangerous

conditions and ADA violations that exist at the Purple Garlic and Property that preclude

and/or limit her access to the Purple Garlic and Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in her Complaint.

       28.    Plaintiff intends to visit the Purple Garlic and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Purple Garlic

and Property and as an independent advocate for the disabled, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions

                                            6
         Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 7 of 13




and ADA violations that exist at the Purple Garlic and Property that preclude and/or limit

her access to the Purple Garlic and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in her Complaint.

       29.      Defendant has discriminated against Plaintiff (and others with disabilities)

by denying her access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Purple Garlic and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.      Defendant will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendant is compelled to remove all physical barriers that

exist at the Purple Garlic and Property, including those specifically set forth herein, and

make the Purple Garlic and Property accessible to and usable by Plaintiff and other

persons with disabilities.

       31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Purple Garlic and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and accommodations

of the Purple Garlic and Property include, but are not limited to:

       (a)      ACCESSIBLE ELEMENTS:

       (i) In front of Parker School Uniforms, the accessible parking space is not located

             on the shortest distance to the accessible route leading to the accessible

                                              7
  Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 8 of 13




    entrances in violation of section 208.3.1 of the 2010 ADAAG Standards. This

    violation would make it difficult for Plaintiff to access the units of the

    Property.

(ii) Near Rebel Church, the accessible ramp leading from the parking lot to the

    accessible entrances has a rise greater than 6 (six) inches but does not have

    handrails complying with section 505 of the 2010 ADAAG standards, this is a

    violation of section 405.8 of the 2010 ADAAG standards. This violation would

    make it difficult for Plaintiff to access the units of the Property.

(iii)   At Unit 100, the doorway of the accessible entrance is not level in violation

    of section 404.2.4.4 of the 2010 ADAAG standards. This violation would

    make it difficult for Plaintiff to access the units of the Property.

(iv)    Near Unit 105, there is a dangerously excessive vertical rise exceeding ½

    inch in height at the base and top of the accessible ramp in violation of Section

    303.2 and 405.4 of the 2010 ADAAG standards. This violation would make it

    dangerous and difficult for Plaintiff to access public features of the Property.

(v) Near Unit 105, the handrails of the accessible ramp do not properly extend

    horizontally above the landing for at least 12 (twelve) inches beyond the top

    and bottom of the accessible ramp run and are in violation of section 505.10.1

    of the 2010 ADAAG standards. This violation would make it difficult for

    Plaintiff to access the units of the Property.




                                        8
  Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 9 of 13




(vi)    At Unit 112, the doorway of the accessible entrance is not level in violation

    of section 404.2.4.4 of the 2010 ADAAG standards. This violation would

    make it difficult for Plaintiff to access the units of the Property.

(vii)   Near Hess Fitness Products, the access aisle to the accessible parking space

    is not level due to the presence of an accessible ramp in the access aisle in

    violation of section 502.4 of the 2010 ADAAG standards. This violation would

    make it dangerous and difficult for Plaintiff to exit and enter their vehicle

    while parked at the Property.

(viii) Near Hess Fitness Products, the accessible curb ramp is improperly

    protruding into the access aisle of the accessible parking space in violation of

    section 406.5 of the 2010 ADAAG Standards. This violation made it difficult

    and dangerous for Plaintiff to exit/enter their vehicle.

(ix)    Near Hess Fitness Products, the accessible parking space and access aisle

    are not level due to the presence of accessible ramp side flares in the accessible

    parking space and access aisle in violation of section 502.4 and 406.5 of the

    2010 ADAAG standards. This violation would make it dangerous and difficult

    for Plaintiff to exit and enter their vehicle while parked at the Property.

(x) Near Hess Fitness Products, the Property has an accessible ramp leading from

    the accessible parking space to the accessible entrances with a slope exceeding

    1:12 in violation of section 405.2 of the 2010 ADAAG standards. This

    violation would make it dangerous and difficult for Plaintiff to access the units

    of the Property.

                                        9
        Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 10 of 13




      (xi)     Near Unit 5909, the access aisle to the accessible parking space is not level

            due to the presence of an accessible ramp in the access aisle in violation of

            section 502.4 of the 2010 ADAAG standards. This violation would make it

            dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

            at the Property.

      (xii)    Near Unit 5909, the accessible parking space is not level due to the

            presence of accessible ramp side flares in the accessible parking space in

            violation of section 502.4 and 406.5 of the 2010 ADAAG standards. This

            violation would make it dangerous and difficult for Plaintiff to exit and enter

            their vehicle while parked at the Property.

      (xiii) Near Unit 5909, the access aisle has excessive vertical rise and is in

            violation of section 303.2 and 502.4 of the 2010 ADAAG standards. This

            violation would make it dangerous and difficult for Plaintiff to exit and enter

            their vehicle while parked at the Property.

      (xiv) The Property lacks an accessible route leading from the public sidewalk to

            the accessible entrances of the Property in violation of section 206.2 of the

            2010 ADAAG Standards. This violation would make it difficult for Plaintiff to

            access the Property utilizing public transportation.

      (xv)     Defendants fail to adhere to a policy, practice and procedure to ensure that

            all facilities are readily accessible to and usable by disabled individuals.

      32.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Purple Garlic

                                               10
        Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 11 of 13




and Property.

       33.      Plaintiff requires an inspection of Purple Garlic and Property in order to

determine all of the discriminatory conditions present at the Purple Garlic and Property in

violation of the ADA.

       34.      The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

       35.      All of the violations alleged herein are readily achievable to modify to

bring the Purple Garlic and Property into compliance with the ADA.

       36.      Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Purple Garlic and Property is readily achievable

because the nature and cost of the modifications are relatively low.

       37.      Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Purple Garlic and Property is readily achievable

because Defendants have the financial resources to make the necessary modifications.

       38.      Upon information and good faith belief, the Purple Garlic and Property

have been altered since 2010.

       39.      In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

       40.      Plaintiff is without adequate remedy at law, is suffering irreparable harm,

                                             11
           Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 12 of 13




and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Purple Garlic and Property, including those alleged

herein.

          41.   Plaintiff’s requested relief serves the public interest.

          42.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

          43.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

          44.   Pursuant to 42 U.S.C. § 12188(a), the Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant to

modify the Purple Garlic and Property to the extent required by the ADA.

          WHEREFORE, Plaintiff prays as follows:

          (a)   That the Court find Purple Garlic in violation of the ADA and ADAAG;

          (b)   That the Court issue a permanent injunction enjoining Defendant from

                continuing their discriminatory practices;

          (c)   That the Court issue an Order requiring Defendant to (i) remove the

                physical barriers to access and (ii) alter the subject Purple Garlic to make it

                readily accessible to and useable by individuals with disabilities to the

                extent required by the ADA;

          (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation

                expenses and costs; and

                                                12
 Case 5:21-cv-00288-OLG Document 1 Filed 03/23/21 Page 13 of 13




(e)   That the Court grant such further relief as deemed just and equitable in light

      of the circumstances.

                                  Dated: March 23, 2021.

                                  Respectfully submitted,

                                  /s/ Dennis R. Kurz
                                  Dennis R. Kurz
                                  Attorney-in-Charge for Plaintiff
                                  Texas State Bar ID No. 24068183
                                  Kurz Law Group, LLC
                                  4355 Cobb Parkway, Suite J-285
                                  Atlanta, GA 30339
                                  Tele: (404) 805-2494
                                  Fax: (770) 428-5356
                                  Email: dennis@kurzlawgroup.com




                                    13
